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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA

                                                *
AHMED BAQER, et al.,                            *    CIVIL ACTION NO.: 20-
                                                *    00980-DJP-DPC
                  Plaintiffs,
                                                *
                             v.                 *    (Consolidated with 20-1840-
                                                *    WBV-DPC)
ST. TAMMANY PARISH GOVERNMENT,                  *
a/k/a/ ST. TAMMANY PARISH COUNCIL,              *    JUDGE PAPILLION
et al.,                                         *
                                                     MAGISTRATE JUDGE
                                                *
                 Defendants.                         PHILLIPS CURRAULT
                                                *
                                                *    JURY TRIAL DEMANDED
                                                *

*****************************************************************************
             PLAINTIFFS’ CORRECTED MOTION FOR
  LEAVE TO FILE A RENEWED MOTION FOR CLASS CERTIFICATION

      Pursuant to Federal Rule of Civil Procedure 23(c)(1) and the Court’s April 7,

2025 Notice of Deficient Document in this matter (“April 7 Notice”), Plaintiffs, by

their undersigned counsel, submit this corrected motion for leave to file a renewed

motion for class certification.

      Plaintiffs submit this motion as set forth in their Notice of Proposed

Corrections to ECF 460 (ECF 465). As set forth in that notice, Plaintiffs have

proposed to modify or extend the time to submit a proposed class certification

motion for the Court’s consideration. See id.

      Plaintiffs set forth their reasons for seeking this relief in a memorandum

filed in conjunction with this motion.




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      WHEREFORE, Plaintiffs respectfully request leave to file a renewed motion

for class certification in this case. Said renewed motion for class certification would

be filed simultaneously and in conjunction with an amended complaint. Plaintiffs

are moving for leave to file an amended complaint in a separate motion filed

concurrently with this motion.




 Date: April 14, 2025                          Respectfully submitted,

                                               /s/ Joshua M. Levin


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